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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA




 UNITED STATES OF AMERICA

    v.                                               Case No. 21-cr-291-3 (ABJ)

 KYLE JAMES YOUNG,

      Defendant.

      GOVERNMENT’S RESPONSE TO COURT ORDER OF OCTOBER 17, 2022


         The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully submits this response to the Court’s Minute Order on

October 17, 2022. The government does not object to the release of the government’s sentencing

exhibits used in the above-captioned case to the members of the media.



                                              Respectfully submitted,

                                              MATTHEW M. GRAVES
                                              UNITED STATES ATTORNEY

                                      BY:        /s/
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